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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF LOUISANA


       BRITTNEY SANDERS


       VERSUS                                           Civil Action No. 16-233-JWD-EWD

       PORTFOLIO RECOVERY ASSOCIATES;
       and EXPERIAN INFORMATION
       SOLUTIONS, INC.
                                ORDER APPROVING
                           STIPULATION TO DISMISS WITH PREJUDICE


             The Court considered the Stipulation to Dismiss, and after considering the

       same, the Court finds that the Stipulation to Dismiss should be granted.

           IT IS ORDERED that all claims asserted or which could have been asserted in this

       matter by Plaintiff against Defendants, are hereby dismissed with prejudice.

           IT IS FURTHER ORDERED that all costs of court and attorneys’ fees are to be

       taxed against the party incurring same.

           Signed in Baton Rouge, Louisiana, on April 3, 2017.




                                                      S
                                                 JUDGE JOHN W. deGRAVELLES
                                                 UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF LOUISIANA




JURY
